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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH
Case No. ()l-9()13-ClV-RYSKAMP/VITUNAC

DELMA LUZ CARRANZA, el ¢'1/__

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FlLEDby Z]Z C-' D.C.
Plaintiffs,

v. MAR l 7 2003

 

MECCA FARMS, iNC., er a/., 5133'33?:. 33333

S-D \'\F FlA. - w.P.B.

 

 

 

Defendants.

 

ORDER OF DISMISSAL WITH PREJUDICE

THIS CAUSE comes before the Court upon the Stipulation for Disniissal With Prejudice
|DE 1291 filed March 14, 2003, between Defendant Rogerio T. Rodriguez and Plaintif`fs Delma
Luz Carranza, et al. The parties stipulate and agree to the dismissal of all causes of action
against Defendant Rodriguez in this case, including all claims for attorney’s fees and costs.
Acc.ordingly, it is hereby

ORDERED AND AD.lUDGED that this Plaintiffs’ causes of action against Defendant
Rodriguez shall be, and the same hereby are, DISMISSED WITH PREJUDICE. Each party
shall bear its own fees and costs.

DONE AND ORDERED in Chambers at West Palm Beach, Florida, this [7 day of

March, 2003.
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copies provided:
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